      Case 4:23-cv-00319-MW-MAF   Document 10   Filed 09/20/23   Page 1 of 5



                                                                      Page 1 of 5

           IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


BONNIE HERNANDEZ,

       Plaintiff,

vs.                                          Case No. 4:23cv319-MW-MAF

UNITED STATES OF AMERICA,

     Defendant.
___________________________/


                    REPORT AND RECOMMENDATION

       This case was initiated on July 24, 2023. Plaintiff, who is represented

by counsel, filed a complaint, ECF No. 1, which asserts a negligence claim

pursuant to the Federal Tort Claims Act. Summons was issued the next

day, and it appears that a summons was returned executed on August 1,

2023, ECF No. 6, making an answer to the complaint due on or before

September 25, 2023. However, as of this date, a notice of appearance of

counsel has not yet been filed for the Government.

       This case was referred to the undersigned pursuant to Local Rule

72.2(C) and 28 U.S.C. § 636(b)(1)(B). ECF No. 5. Thereafter, Plaintiff’s
    Case 4:23-cv-00319-MW-MAF          Document 10      Filed 09/20/23    Page 2 of 5



                                                                                Page 2 of 5

complaint was reviewed to ensure that jurisdiction1 exists. Because the

complaint omitted any mention of when and how Plaintiff exhausted

administrative remedies, an Order was entered on August 3, 2023,

requiring Plaintiff to demonstrate that administrative remedies were

exhausted prior to filing this lawsuit. ECF No. 8.

       Plaintiff’s response was due on or before August 23, 2023, but when

nothing further was filed, an Order to Show Cause was entered on

September 1st. ECF No. 9. That Order required Plaintiff to do two things.

Id. First, Plaintiff was directed to demonstrate exhaustion of administrative

remedies. Second, Plaintiff was required to show good cause for failing to

comply with the prior Order. Plaintiff’s deadline to comply was September

11, 2023. Id. Importantly, the Order warned that if Plaintiff did not

respond, a recommendation would be made to dismiss this case. Once

again, no response to the Order has been filed.

       The Federal Tort Claims Act (FTCA) “bars claimants from bringing

suit in federal court until they have exhausted their administrative

remedies.” McNeil v. United States, 508 U.S. 106, 113, 113 S. Ct. 1980,

       1
         “Federal courts have an independent obligation to ensure that subject-matter
jurisdiction exists before reaching the merits of a dispute.” Jacobson v. Fla. Sec’y of
State, 974 F.3d 1236, 1245 (11th Cir. 2020).

Case No. 4:23cv319-MW-MAF
    Case 4:23-cv-00319-MW-MAF        Document 10     Filed 09/20/23   Page 3 of 5



                                                                           Page 3 of 5

1984, 124 L. Ed. 2d 21 (1993). Because the administrative exhaustion

requirement is jurisdictional2 and a “federal court may not exercise

jurisdiction over a suit under the FTCA unless” the Plaintiff has exhausted

administrative remedies, Suarez v. United States, 22 F.3d 1064, 1065

(11th Cir. 1994) (citing 28 U.S.C. § 2675(a)), Plaintiff was twice required to

file a response which demonstrates that administrative remedies were

exhausted prior to filing this lawsuit. ECF No. 8. Having failed twice to

comply with Court Orders, Plaintiff should not be given a third opportunity.

It appears that Plaintiff has abandoned this litigation.

      “A district court, as part of its inherent power to manage its own

docket, may dismiss a case sua sponte” when a Plaintiff “fails to prosecute

or” otherwise comply with a court order. See Ciosek v. Ashley, No.

3:13cv147-RV-CJK, 2015 WL 2137521, at *2 (N.D. Fla. May 7, 2015). The

Court has inherent power “to dismiss sua sponte for lack of prosecution” as

courts must necessarily have authority “to manage their own affairs . . . . ”

Link v. Wabash R.R. Co., 370 U.S. 626, 630, 82 S. Ct. 1386, 1389, 8 L. Ed.

2d 734 (1962) (quoted in Betty K Agencies, Ltd. v. M/V MONADA, 432 F.3d

      2
        Notably, the Bureau of Prisons “has promulgated regulations describing how
prisoners should file administrative FTCA claims against the BOP.” Douglas v. United
States, 814 F.3d 1268, 1279 (11th Cir. 2016) (citing 28 C.F.R. § 543.30).

Case No. 4:23cv319-MW-MAF
    Case 4:23-cv-00319-MW-MAF      Document 10    Filed 09/20/23   Page 4 of 5



                                                                        Page 4 of 5

1333, 1337 (11th Cir. 2005)); see also N.D. Fla. Loc. R. 41.1. Furthermore,

the Eleventh Circuit Court of Appeals has noted that “[w]hile dismissal is an

extraordinary remedy, dismissal upon disregard of an order, especially

where the litigant has been forewarned, generally is not an abuse of

discretion.” Moon v. Newsome, 863 F.2d 835, 837 (11th Cir. 1989). It is

within this Court’s discretion and “inherent authority” to dismiss this case

for failing to comply with a court Order. Smith v. Bruster, 424 F. App’x 912,

915 (11th Cir. 2011) (stating it “was within the district court’s discretion to

dismiss the plaintiffs’ § 1983 action without prejudice either under Rules 11

and 41(b) or under its inherent authority”). Here Plaintiff was forewarned

and did not respond to two Court Orders. Because Plaintiff has failed to

prosecute this case, dismissal is appropriate.

                             RECOMMENDATION

      It is respectfully RECOMMENDED that this case be DISMISSED

without prejudice for failure to prosecute and comply with Court Orders.

      IN CHAMBERS at Tallahassee, Florida, on September 20, 2023.



                                    S/   Martin A. Fitzpatrick
                                    MARTIN A. FITZPATRICK
                                    UNITED STATES MAGISTRATE JUDGE
Case No. 4:23cv319-MW-MAF
   Case 4:23-cv-00319-MW-MAF   Document 10   Filed 09/20/23   Page 5 of 5



                                                                   Page 5 of 5

                        NOTICE TO THE PARTIES

      Within fourteen (14) days after being served with a copy of this
Report and Recommendation, a party may serve and file specific written
objections to these proposed findings and recommendations. Fed. R.
Civ. P. 72(b)(2). A copy of the objections shall be served upon all other
parties. A party may respond to another party’s objections within
fourteen (14) days after being served with a copy thereof. Fed. R. Civ.
P. 72(b)(2). Any different deadline that may appear on the electronic
docket is for the Court’s internal use only and does not control. If a
party fails to object to the Magistrate Judge’s findings or
recommendations as to any particular claim or issue contained in this
Report and Recommendation, that party waives the right to challenge on
appeal the District Court’s order based on the unobjected-to factual and
legal conclusions. See 11th Cir. Rule 3-1; 28 U.S.C. § 636.




Case No. 4:23cv319-MW-MAF
